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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

UNITED STATES OF AMERICA                   :EH              140
                                            )
       v.                                   )        CASE         3:15-CR-240-MHT
                                            )
STEPHEN HOWARD

                                       MOTION TO SEAL

       COMES NOW the Defendant, Stephen Howard, by and through Undersigned Counsel,

Stephen Ganter, and files this Motion to Seal. The Defendant requests that the Response to the

Court's Order/Pre-hearing Brief and attached exhibits filed on August 10, 2020 for the Court's

consideration, be filed under seal due to the sensitive information contained within the motion.

       Dated this lOth day of August, 2020.

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                                              TX Bar. No: 24003732
      Case 3:15-cr-00240-MHT-CSC Document 130 Filed 08/10/20 Page 2 of 2




                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

UNITED STATES OF AMERICA

       v.                                            CASE NO.: 3:15-CR-240-MHT

STEPHEN HOWARD

                                 CERTIFICATE OF SERVICE

       I hereby certify that on 10th day of August, 2020, I filed the foregoing with the Clerk of

Court and will provide a copy to the United States Attorney's Office for the Middle District of

Alabama.

                                                                 /
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